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      5

      6
          Attorneys for Defendant
      7   DANA FAULKNER

      8

      9
                                            UNITED STATES DISTRICT COURT
     10
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
     11
                                                  SACRAMENTO DIVISION
     12

     13

     14
          UNITED STATES OF AMERICA,                       )     Case No.: CR S 10-00223 JAM
     15                                                   )
                                           Plaintiff,     )
     16                                                   )
                                                          )     REQUEST FOR WAIVER OF PRESENCE
     17                                                   )
                    vs.                                   )
     18                                                   )
                                                          )
     19                                                   )
          DANA FAULKNER                                   )
     20                                                   )
                                           Defendants.    )
     21                                                   )
     22
                   Defendant hereby waives the right to be present in person in open court upon the hearing
     23
          of any motion or other proceeding in this cause, including, but not limited to when the case is
     24
          ordered set for trial, when a continuance is ordered, and when any other action is taken by the
     25
          court before or after hearing, except upon arraignment, plea, empanelment of jury, trial and



          Request for Waiver of Presence                                             Case No. CR S 10 00223 JAM
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      1   imposition of sentence. Defendant hereby requests the court to proceed during every absence of
      2   hers which the court may permit pursuant to this waiver; agrees that her interests will be deemed

      3   represented at all times by the presence of her attorney, the same as if defendant were personally
          present; and further agrees to be present in court ready for hearing any day and hour the court
      4
          may fix in her absence.
      5
                   Defendant further acknowledges that she has been informed of her rights under Title 18
      6
          U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes her attorney to set times and delays
      7
          under the ACT without defendant being present.
      8

      9
          Dated: July 20, 2010                                        /s/ Dana Faulkner
     10
                                                               Defendant, DANA FAULKNER
                                                               Original Signature on file
     11

     12
          Approved:                                            By:    /s/    Adante D. Pointer
     13                                                        ADANTE D. POINTER
                                                               Attorney for Defendant
     14                                                        DANA FAULKNER

     15
          Dated: July 20, 2010                                 Respectfully Submitted,
     16

     17
                                                                      /s/    Adante D. Pointer
     18                                                        ADANTE D. POINTER
                                                               Attorney for Defendant
     19                                                        DANA FAULKNER

     20
                                                       ORDER
     21
          I approve the above waiver of presence.
     22
          IT IS SO ORDERED.
     23

     24

     25   Dated: July 20, 2010                         /s/ John A. Mendez_______________________
                                                       JOHN A. MENDEZ
                                                       UNITED STATES DISTRICT COURT JUDGE


          Request for Waiver of Presence                                            Case No. CR S 10 00223 JAM
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